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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                               v.                      )       CAUSE NO.: 1:04-CR-30-WCL
                                                       )
TERRANCE ARTIS,                                        )
                               Defendant.              )

           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
              UPON A PLEA OF GUILTY BY DEFENDANT TERRANCE ARTIS

TO:    THE HONORABLE WILLIAM C. LEE, JUDGE,
       UNITED STATES DISTRICT COURT

       Upon Defendant Terrance Artis’s request to enter a plea of guilty pursuant to Rule 11 of the

Federal Rules of Criminal Procedure, this matter came on for hearing before U. S. Magistrate Judge Paul

R. Cherry, on September 27, 2005, with the written consents of Defendant Terrance Artis, counsel for

Defendant Terrance Artis, and counsel for the United States of America.

       The hearing on Defendant Terrance Artis’s plea of guilty was in full compliance with Rule 11,

Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

       In consideration of that hearing and the statements made by Defendant Terrance Artis under oath

on the record and in the presence of counsel, the remarks of the Assistant United States Attorney and of

counsel for Defendant Terrance Artis,

       I FIND as follows:

       (1) that Defendant Terrance Artis understands the nature of the charge against him to which the

plea is offered;

       (2) that Defendant Terrance Artis understands his right to trial by jury, to persist in his plea of not

guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and his right
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against compelled self-incrimination;

       (3) that Defendant Terrance Artis understands what the maximum possible sentence is, including

the effect of the supervised release term, and Defendant Terrance Artis understands that the sentencing

guidelines apply and that the Court may depart from those guidelines under some circumstances;

       (4) that the plea of guilty by Defendant Terrance Artis has been knowingly and voluntarily made

and is not the result of force or threats or of promises.

       (5) that Defendant Terrance Artis is competent to plead guilty;

       (6) that Defendant Terrance Artis understands that his answers may later be used against him in

a prosecution for perjury or false statement;

       (7) that there is a factual basis for Defendant Terrance Artis’s plea; and further,

        I RECOMMEND that the Court accept Terrance Artis’s plea of guilty to the offense charged in

Count 6 of the Indictment and that Defendant Terrance Artis be adjudged guilty of the offense charged

in Count 6 of the Indictment and have sentence imposed. A Presentence Report has been ordered. Should

this Report and Recommendation be accepted and Defendant Terrance Artis adjudged guilty, sentencing

has been scheduled for December 19, 2005, at 10:30 a.m. in the Fort Wayne Division, before Judge

William C. Lee. Defendant Terrance Artis is ORDERED to be present in person at sentencing.

Objections to the Findings and Recommendation are waived unless filed and served within ten (10) days.

28 U.S.C. §636(b)(1)(B).

        So ORDERED this 29th day of September, 2005.

                                                       s/ Paul R. Cherry
                                                       MAGISTRATE JUDGE PAUL R. CHERRY
                                                       UNITED STATES DISTRICT COURT
cc:     All counsel of record
        Honorable William C. Lee
